                     Case 1:21-cv-05300-TWT Document 2-4 Filed 12/28/21 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                   Northern District
                                                __________  District of
                                                                     of Georgia
                                                                        __________

 TIANA HILL individually and as MOTHER and next friend of          )
                baby D.H. her minor child                          )
                                                                   )
                                                                   )
                          Plaintiff(s)                             )
                                                                   )
                              v.                                          Civil Action No. 1:21-cv-5300
                                                                   )
CLAYTON COUNTY GEORGIA, CLAYTON COUNTY BOARD
OF COMMISSIONERS, SHERIFF VICTOR HILL in his official and
                                                                   )
 indivdual capacities, CORRECTHEALTH CLAYTON COUNTY                )
   LLC, DR. CHARLES CLOPTON in his official and individual         )
 capacities, JOHN DOES in their official and individual capacities )
                         Defendant(s)                              )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                        Dr. Charles Clopton in his official and indivdual capacities - Clayton County
                                        Sheriff's Office 9157 Tara Blvd., Jonesboro GA, 30326




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Mitchell L. Albert III
                                       ALBERT III & ASSOCIATES LLC
                                       3330 Cumberland Blvd., Suite 500
                                       Atlanta, GA 30339



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                             KEVIN P. WEIMER
                                                                             CLERK OF COURT


Date:             12/28/2021                                                s/Beverly Creech
                                                                                       Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-05300-TWT Document 2-4 Filed 12/28/21 Page 2 of 2

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 Civil Action No. 1:21-cv-5300

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
